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14   UNITED STATES OF AMERICA,                      )   Case No. CR 22-00270 WHO
                                                    )
15           Plaintiff,                             )   UNITED STATES’ MOTION TO EXCLUDE
                                                    )   EXPERT TESTIMONY
16      v.                                          )
                                                    )   Pretrial Conference: April 25, 2023, 2:00 p.m.
17                                                  )   Dept: Courtroom 2 – 17th Floor
     JOHN FRANCIS PORTER                            )   Judge: Hon. William H. Orrick
18                                                  )
             Defendant.                             )
19                                                  )
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 2 I.       INTRODUCTION

 3          On February 27, 2023, defendant Porter notified the government that he intends to call an

 4 attorney, Ann Ravel, as an expert to testify for the defense at trial in this case. Ms. Ravel is, among other

 5 things, a former Commissioner of the Federal Election Commission, a former Chair of the California

 6 Fair Political Practices Commission (“FPPC”) and an alumnus of the Civil Division of the U.S.

 7 Department of Justice. According to the defense disclosure, Ms. Ravel will opine on a type of donation

 8 known as a “behested payment,” a payment made to a third-party organization, usually a non-profit, at a

 9 public official’s request. Ms. Ravel proposes to testify that these types of payments were legal and

10 common at the time of the charged offenses.

11          Ms. Ravel also proposes to testify about the payments alleged in the Superseding Indictment to

12 be bribes, payments approved by defendant Porter from Recology to the Lefty O’Doul’s Foundation for

13 Kids as “holiday donations” that are alleged to be payments to Mohammed Nuru, the then-head of the

14 San Francisco Department of Public Works, to pay for elaborate holiday parties he hosted for friends,

15 political supporters, and select DPW employees. In her expert disclosure, Ms. Ravel proposes to testify

16 that “this type of payment resembles what is known as a behested payment.” Ms. Ravel then concludes

17 that Porter’s actions in approving them were proper. In a subsequent letter, counsel for defendant Porter

18 changes her proposed testimony, saying that she will say the payments were legal and legitimate

19 behested payments. Ms. Ravel’s expert report states no legal or factual basis for either conclusion, or

20 for the change in position. Defendant admits that Ms. Ravel has not done any independent analysis of

21 the evidence in this case other than to read the Superseding Indictment.

22          Ms. Ravel’s testimony should be excluded. Defendant’s bare-bones disclosure fails to meet the

23 requirements of Rule 16 that a party seeking to have an expert testify produce a statement of all of the

24 opinions that expert will testify to, and provide the bases and reasons for them.

25          More fundamentally, Ms. Ravel’s proposed testimony would violate two foundational rules

26 regarding expert testimony. First, Ms. Ravel proposes to testify as to legal conclusions she has reached
27 – that the Lefty O’Doul’s bribe payments approved by defendant Porter were legal behested payments,

28 and that the defendant’s approval of the payments “were consistent with state and local law.” This is

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 1 improper expert testimony. It is a fundamental and long-established principle that it is the sole province

 2 of the judge in a case to say what the law is, and that expert testimony on legal conclusions is improper.

 3           Second, the impact (and likely the true purpose) of Ms. Ravel’s testimony will be to bolster the

 4 testimony of defendant Porter or other defense fact witnesses who may testify that Porter believed that

 5 the Lefty O’Doul’s payments were proper behested payments and were made without criminal intent.

 6 This is improper. Expert testimony may not be used to bolster the credibility of a fact witness,

 7 particularly as to the issue of a defendant’s intent.

 8           Finally, to the extent Ms. Ravel intends to testify that “behested payments” in general – unrelated

 9 to the bribe payments in this case - were common and accepted during the conspiracy period is wholly

10 irrelevant to whether defendant Porter’s approvals of the payments to Nuru, misrepresented and

11 concealed as a payment to a non-profit, were violations of the charged offenses in this case.

12           Nor is this harmless testimony. Ms. Ravel is an accomplished lawyer, and her testimony,

13 particularly given under the imprimatur of that of a legal expert, would mislead and confuse the jury,

14 improperly bolster defendant’s credibility, and creates a real risk that the jury would rely on her legal

15 opinions, rather than those of the Court.

16 II.       LEGAL STANDARD

17           a. Federal Rule of Evidence 702

18           “[S]cientific, technical, or other specialized knowledge” may be admissible where it “will help

19 the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. Expert

20 testimony must be (1) based upon sufficient facts or data, (2) the product of reliable principles and

21 methods, and (3) the result of applying those principles and methods reliably to the facts of the case. Id.

22           The district court is a “gatekeeper,” charged with the duty to “ensur[e] that an expert’s testimony

23 both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

24 Pharms., Inc., 509 U.S. 579, 597 (1993); see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 148-49

25 (1999); Guidroz-Brault v. Missouri Pac. R.R. Co., 254 F.3d 825, 829 (9th Cir. 2001). Even if an

26 expert’s opinion is reliable, it will be inadmissible if it is unhelpful to the trier of fact. Daubert 509 U.S.
27 at 591-92; see also Guidroz-Brault, 254 F.3d at 829. In cases where there is some marginal relevance to

28 the testimony, it should nonetheless be excluded “if its probative value is substantially outweighed by a

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 1 danger of one or more of the following: unfair prejudice, confusing the issues, misleading the jury,

 2 undue delay, wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403.

 3          Exclusion of testimony is the only remedy sufficient to protect against the inherent power of

 4 expert evidence, which can be “quite misleading because of the difficulty in evaluating it.” Daubert501

 5 U.S. at 595. The party who offers the expert testimony must prove its admissibility by a preponderance

 6 of the evidence. See Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007); SU Med. Corp. v. JMS Co.,

 7 296 F. Supp. 2d 1140, 1146-47 (N.D. Cal. 2003).

 8          b. Federal Rule of Criminal Procedure 16

 9          In December 2022, the expert disclosure requirements of Rule 16 were significantly enhanced,

10 for both the government and the defense. Relevant to this motion, if a defendant intends to use any

11 testimony under Fed. R. Evid. 702, 703, or 705, the defendant must disclose to the government in a

12 timely manner, all of the following: 1) a complete statement of all opinions that the defendant will elicit

13 from the witness in the defendant’s case in chief; 2) the bases and reasons for them; 3) the witness’s

14 qualifications, including a list of all publications authored in the previous 10 years, and a list of all other

15 cases in which, during the previous four years, the witness has testified as an expert at trial or by

16 deposition. Fed. R. Crim. P. 16 (b (1)(C)(iii).

17 III.     FACTUAL BACKGROUND

18          On February 27, 2023, the parties’ stipulated deadline for expert disclosures, Defendant Porter

19 notified the government that he intends to call Ms. Ravel as an expert witness at trial. Defendant

20 provided the government with a 10-page expert report, with several hundred pages of supporting

21 documentation. See Declaration of David J. Ward, Exhibit A (“Expert Report of Ann Ravel”).

22          Ms. Ravel’s 10-page report begins with three and a half pages reciting her legal background and

23 experience. Id. According to the disclosure, Ms. Ravel is an attorney “with years of experience

24 working in law and policy regarding campaign finance, conflicts of interest, and government ethics.” Id.

25 She is a former FEC Commissioner, and a former Chair of the California Fair Political Practices

26 Commission. Id. Prior to that, she was a Deputy Assistant Attorney General in the Civil Division of the
27 U.S. Department of Justice, and prior to that she was a County Counsel in Santa Clara County. Id. She

28 is a graduate of UC College of the Law, San Francisco (formerly U.C. Hastings College of the Law). Id.

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 1          The next six pages of Ms. Ravel’s 10-page report is a general description of behested payments,

 2 and their use in San Francisco and California prior to 2020. Id. ⁋⁋ 15-40. According to Ms. Ravel’s

 3 proposed testimony, “behested payments” were donations made, generally to charitable organizations, at

 4 the behest of a public official. Id. ⁋ 28. To qualify as a legitimate behested payments, the donation must

 5 be “made for a legislative, governmental, or charitable purpose” and cannot be “a gift (made for

 6 personal purposes), or a contribution (made for election-related activity) to the elected official.” Id. at

 7 App. B_4. Ms. Ravel proposes to testify as to her legal conclusion that “[b]ehested payments were not

 8 prohibited at either the state or local level during the relevant time period.” Id.

 9          Ms. Ravel’s report contains only two paragraphs that reflect her opinions on the facts of this

10 case. The government has alleged that as part of the honest services fraud conspiracy charged in this

11 case, defendant Porter approved three payments to Mohammed Nuru to fund elaborate holiday parties,

12 in 2017, 2018, and 2019, and concealed and misrepresented them as “holiday donations” to the Lefty

13 O’Doul’s Foundation for Kids. See Dkt. 67 (Superseding Indictment). The government also alleges

14 that the 2018 payment, of $20,000, was a bribe to Nuru, made at his request for funds for “his party,”

15 made by Porter and his co-conspirators to influence Nuru to approve an increase in a fee paid to

16 Recology by the City of San Francisco which would have meant millions of dollars in additional

17 revenues to Recology, all in violation of 18 U.S.C. § 666.

18          Ms. Ravel proposes to testify to the following as it relates to the Lefty O’Doul’s payments:

19          This type of payment resembles what is known as a “behested payment,” which is a
            payment made to third-party organization (sic), often a nonprofit organization, because
20          of a public official’s request. Ravel Report ⁋ 17.

21          Despite no additional information or explanation, or analysis of the facts and evidence in this

22 case, Ms. Ravel’s proposed testimony then concludes with the following sweeping legal conclusion:

23          “[t]he actions of Mr. Porter in approving funding to the non-profit Lefty O’Doul’s
            Foundation for Kids to host a public employee celebration were consistent with the
24          State and Local law regarding behested payments.” Id. ⁋
25

26          On March 2, 2023, the government wrote counsel for defendant Porter, requesting additional

27 information. See Ward Decl., Exhibit B (Ward Letter, March 2, 2023). Specifically, the government

28 requested that defendant Porter disclose all the bases for Ms. Ravel’s two opinions above related to the

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 1 Lefty O’Doul’s payments. Id. Defendant Porter responded by letter that Ms. Ravel would now testify

 2 that the Lefty O’Doul’s payments alleged in the Superseding Indictment are behested payments, not that

 3 they simply resemble behested payments. See Ward Decl. Exhibit C (Adkins Letter, March 13, 2023).

 4 (“Ms. Ravel will testify that the Lefty O’Doul’s donations described in the Superseding Indictment as

 5 payments requested by Mohammed Nuru to Lefty O’Doul’s to fund the DPW holiday party are behested

 6 payments.”). Defendant Porter’s letter states that Ms. Ravel has read the Superseding Indictment, and

 7 bases her conclusion on those facts alone. Id.

 8          Ms. Ravel mischaracterizes and misquote the Superseding Indictment, which alleges that the

 9 payments were made, not for a legitimate DPW holiday party but rather made “to Nuru to fund

10 increasingly elaborate and expensive holiday parties Nuru hosted for friends, political supporters, and

11 select DPW employees.” Dkt. 67, ⁋ 11. The Superseding Indictment also alleges that the payments were

12 concealed and misrepresented as a “Holiday Donation” for a non-profit whose purported purpose was to

13 raise funds “to provide underprivileged kids the opportunity to experience baseball through providing

14 bats, baseball gloves, equipment, and tickets to ball games.” Id. ⁋ 5. Ms. Ravel’s expert disclosure and

15 counsel’s letter do not address or even acknowledge these factual allegations.

16 IV.      ARGUMENT

17          a. Defendant Porter’s Expert Report Does Not Meet Rule 16’s Disclosure Requirements

18          As an initial matter, defendant Porter’s expert report fails to meet the disclosure requirements of

19 Rule 16. Ms. Ravel’s expert report contains two conclusory statements related to the payments to the

20 Lefty O’Doul’s Foundation, but no explanation for the bases for them. The expert report says that

21 “[t]his type of payment resembles what is known as a behested payment.” Ward Decl. Exhibit A.

22 (italics added). The report does not specify whether Ms. Ravel is referring to the payments themselves,

23 or “this type of payment,” and if the latter, what type of payment that is. Ms. Ravel provides no

24 explanation for her use of the term “resemble” and what it means for the payments to the Lefty O’Doul’s

25 Foundation to resemble a behested payment. To the extent she is saying that the payments were

26 concealed and misrepresented in an attempt to make them falsely resemble a legitimate donation to a
27 non-profit, the government agrees. But assuming that is not her intended assertion, and that she believes

28 the payments were legitimate, her expert report is vague and unclear and does not meet the requirements

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 1 of Rule 16 that an expert disclose all the bases for her opinions.

 2          Next, after 40 paragraphs of general description of her background and the use of behested

 3 payments in unrelated instances, Ms. Ravel’s report then returns to the Lefty O’Doul’s payments,

 4 concluding that “[t]he actions of Mr. Porter in approving funding to the non-profit Lefty O’Doul’s

 5 Foundation for Kids to host a public employee celebration were consistent with the State and Local Law

 6 regarding behested payments.” Id. Again, Ms. Ravel provides no support for this sweeping assertion,

 7 beginning with whether she even believes that the payments were legitimate behested payments (her

 8 carefully worded statement that they only “resemble” legitimate behested payments would indicate she

 9 does not). Her expert disclosure contains no statement as to what facts or evidence in this case has led

10 to the conclusion that the payments, concealed and misrepresented, and used for a personal holiday

11 party, are indeed legitimate behested payments.

12          Defendant further confuses the issue by stating in a supplemental letter that the payments are in

13 fact behested payments. See Ward Decl.¸Exhibit C (Adkins Letter, March 13, 2023). But again,

14 defendant provides no explanation for that assertion, or an explanation for her change in position. If Ms.

15 Ravel is going to assert that the payments were consistent with state and local law regarding behested

16 payments, she must describe her bases for that opinion. Absent a sufficient disclosure, the government

17 is unable to adequately challenge the admissibility of the expert’s opinions, and is unable to adequately

18 prepare for cross examination. This is exactly what Fed. R. Crim. P. 16’s disclosure requirements are

19 designed to prevent. The Advisory Committee Notes to the 1993 Amendments to the rule make this

20 abundantly clear. See Fed. R. Crim. P. 16, Ad. Comm. Notes, 1993 Amdt. (“[t]he amendment requires a

21 summary of the bases relied upon by the expert. That should cover not only written and oral reports,

22 tests, reports, and investigations, but any information that might be recognized as a legitimate basis for

23 an opinion under Federal Rule of Evidence 703, including opinions of other experts.”).

24          The December 2022 revisions to Rule 16 broaden and increase each party’s expert disclosure

25 requirements, requiring “a complete statement of all opinions that the defendant will elicit from the

26 witness in the defendant’s case in chief, and the bases and reasons for them.” Fed. R. Crim. P. 16 (Dec.
27 2022 Amendments) (italics added).

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 1          Ms. Ravel’s disclosures to not meet this requirement. She provides no basis for her opinion that

 2 the Lefty O’Doul’s payments resemble, or are in fact, legitimate behested payments – a much disputed

 3 legal conclusion. She cites to nothing in the evidentiary record that she relies on, other than the

 4 Superseding Indictment, which clearly describes payments that are far from legitimate behested

 5 payments. Further, Ms. Ravel provides no basis for her conclusory statement that defendant Porter’s

 6 actions in approving those payments was “proper” and consistent with state and local law. Ms. Ravel

 7 fails to even identify which state and local laws she is referring to.

 8          A bare-bones disclosure containing ipse dixit assertions does not meet the requirements of Rule

 9 16. Given that the government requested a supplemental disclosure explaining the bases for her

10 opinions, and a sufficient one was not provided, Ms. Ravel’s testimony should be excluded on this basis.

11          b. Ms. Ravel’s Testimony Will Serve to Improperly Bolster Defendant’s Credibility

12          While not stated explicitly, it is clear that the defendant’s expert testimony is designed to put a

13 legal imprimatur on expected testimony from defendant Porter or others that defendant Porter believed

14 that the payments were legal behested payments. This is the improper use of expert testimony to bolster

15 a witnesses’ credibility. See United States v. Rahm, 993 F.2d 1405, 1413 (9th Cir. 1993) (“expert

16 testimony to bolster or impugn the credibility of a witness is properly excluded.”). See also United

17 States v. Toledo, 985 F.2d 1462, 1470 (10th Cir. 1993) (“[t]he credibility of witnesses is generally not an

18 appropriate subject for expert testimony.”). See also United States v. Christensen, 186 F.Supp.3d 997,

19 1000 (D. Ariz. 2016), quoting United States v. Charley, 189 F.3d 1251, 1267 (10th Cir. 1999) (“[i]n

20 general, expert testimony which does nothing but vouch for the credibility of another witness encroaches

21 on the jury’s vial and exclusive function to make credibility determinations, and thus does not ‘assist the

22 trier of fact’ as required by Rule 702.”).

23          This ban on credibility-bolstering expert testimony is grounded in other evidentiary rules as well.

24 Federal Rules of Evidence 403 directs to the Court to exclude evidence that would be unfairly

25 prejudicial. See United States v. Benally, 541 F.3d 990, 995 (10th Cir. 2008) (affirming district court's

26 exclusion of vouching testimony under Rule 403’s balancing test). Expert testimony that vouches for
27 the credibility of another witness also lacks relevance under Fed. R. Evid. 401, and would thus not assist

28 the trier of fact under Fed. R. 702. See United States v. Adams, 271 F.3d 1236, 1246 (10th Cir. 2001).

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 1          In this case, there is no evidence that the government is aware of that defendant Porter received

 2 legal advice or was otherwise advised that the payments to the Lefty O’Doul’s Foundation were

 3 legitimate behested payments, and defendant has proffered none. If defendant Porter wishes to testify

 4 that he believed that the payments were behested payments, he may do so. But allowing an expert to

 5 testify as to her legal conclusion – much disputed – that defendant Porter’s actions in regards to

 6 approving Lefty O’Doul’s payments were consistent with legal practice is nothing more than an expert

 7 vouching for the defendant’s credibility as to the defendant’s state of mind and intent. As such, it is

 8 impermissible expert testimony and should be excluded.

 9          c. Ms. Ravel’s Testimony is Improper Legal Testimony

10          While Fed. R. Evid. 702 allows for an expert to testify as to factual matters if they will help the

11 trier of fact resolve a factual dispute, “resolving doubtful questions of law is the distinct and exclusive

12 province of the trial judge.” See United States v. Brodie, 858 F.2d. 492, 496-97 (9th Cir. 1988). This is

13 why federal courts generally prohibit lawyers, professors and other legal experts from interpreting the

14 law as expert witnesses. This principle “is so well-established that it is often deemed a basic premise or

15 assumption of evidence law – a kind of axiomatic principle. In re Initial Public Offering Sec. Litigation,

16 174 F. Supp.2s 61, 64 (S.D.N.Y. 1991), quoting Thomas E. Baker, The Impropriety of Expert Witness

17 Testimony on the Law, 40 U. Kan. Law Rev. 325, 352 (1992). See also United States v. Zipkin, 729 F.2d

18 384, 387 (6th Cir. 1984) (reversing trial court's decision to allow bankruptcy judge to testify regarding

19 his interpretation of the Bankruptcy Act, stating that “[i]t is the function of the trial judge to determine

20 the law of the case.”).

21          In addition, courts have also properly excluded legal expert opinion which applies the law to the

22 facts. Many courts have held that the judge is the sole arbiter of the law and its application to the facts.

23 See Marx & Co. v. Diner’s Club, Inc. 550 F.2d 505, 508-11 (2d Cir. 1977); Montgomery v. Aetna Cas.

24 and Sur. Co., 898 F.2d 1537, 1541 (11th Cir.1990) (finding that court abused its discretion by allowing

25 witness to testify that defendant had a duty to hire tax counsel, stating “[a] witness also may not testify

26 to the legal implications of conduct ....”)
27          Here, Ms. Ravel proposes to testify to her legal conclusion: that the Lefty O’Doul’s payments

28 alleged in the Superseding Indictment were legal behested payments and Mr. Porter’s actions in

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 1 approving the payments were legal. But whether the Lefty O’Doul’s payments met the legal definition

 2 of a behested payment is irrelevant. Defendant Porter is charged with participating in a bribery and

 3 honest services fraud conspiracy; not with violating a state or local law related to behested payments.

 4 Whether or not the payments ran afoul of local law has no bearing on whether they were bribes as

 5 alleged in the Superseding Indictment. But there is a significant risk that the jury will be left with the

 6 improper legal view that if a payment is a legitimate behested payment, then it cannot be a bribe in

 7 violation of 18 U.S.C. § 666, or a benefit improperly provided as part of an honest services fraud

 8 scheme. There is no legal support for this. It is not an element of either the federal Bribery statute, 18

 9 U.S.C. § 666, or the honest services fraud statutes, 18 U.S.C. § 1346. Nor has Defendant Porter notified

10 the government that he intends to rely on an advice of counsel defense, or provided evidence that he

11 relied on a legal opinion that the payments were legal.

12          Additionally, Ms. Ravel’s proposed legal conclusions are much in dispute. In fact, her

13 conclusion is even contradicted by the supporting materials she submitted as part of her expert report.

14 Included in the supplemental materials provided with Ms. Ravel’s Expert Report is a Public Integrity

15 Review Preliminary Assessment conducted by the Controller’s Office of the City and County of San

16 Francisco, released on September 24, 2020. See Ward Decl, Exhibit A (Expert Report) App. B. The

17 report is a detailed legal analysis of the gifts to San Francisco city departments made through non-City

18 organizations, and their compliance or non-compliance with local laws. See Id. App. B_192. Included

19 in the report is the Controller’s review and analysis of Nuru’s holiday parties, and their funding through

20 the Lefty O’Doul’s Foundation. Id. These are the very payments alleged in the Superseding Indictment

21 as bribes.

22          Nowhere does the report conclude, as Ms. Ravel does, that those payments were consistent with

23 the State and Local Law regarding behested payments. In fact, the report reached the exact opposite

24 conclusion, that the payments violated city ethics laws. In a page titled “Tone at the Top,” the City

25 Controller uses the holiday parties as an example of the failure of the leadership at DPW to create an

26 ethical atmosphere, and how this failure can and did lead to ethical and legal violations. Id. at App.
27 B_221. Specifically, the report concludes that:

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 1               The 2019 Office of the City Administrator and Public Works Holiday party
                 illustrates this problem. Based on information from the City Attorney’s Public
 2               Integrity Unit, Mr. Nuru solicitated funds from companies with business or
                 regulatory decisions before Public Works. These funds were then used to host
 3
                 the party and other employee appreciation events that benefitted those in the
 4               department. Together these acts create an acceptance of a gift from a
                 “restricted source,” which is prohibited under city ethics laws.
 5
     Id. (Bold in original).
 6
             Ms. Ravel’s expert report does not address this statement, or the clear discrepancy in its
 7
     conclusions with her assertion that defendant’s Porter’s approval of the payments for these holiday
 8
     parties “were consistent with the State and Local Law.”
 9
             Were Ms. Ravel be allowed to testify to this legal conclusion, the government would be required
10
     to cross-examine her on the legal basis for her conclusions, and may also need to call a rebuttal legal
11
     expert who would testify that the payments were not legal behested payments, and would require the
12
     Court to provide instruction to the jury to insure that they did not rely on her legal conclusions to reach
13
     an improper decision as to whether defendant Porter violated federal bribery and honest services law.
14
     All of this will confuse the jury, and create a real risk that the jury, based on her testimony, will apply
15
     the wrong legal standard to this case. This is exactly the purpose of the restrictions and cautions against
16
     allowing legal expert testimony. See In re Novatel Wireless Sec. Litig., 2012 WL 5463214 (S.D. Cal.
17
     2012) (“[w]hile an expert witness may testify as to an ultimate issue of fact the jury will decide, the
18
     general rule is that an expert may not testify as to what the law is, because such testimony would
19
     impinge on the trial court's function.”).
20
             d. Ms. Ravel’s Testimony as to Behested Payments Generally is Irrelevant and Prejudicial
21
             To the extent Ms. Ravel proposes to testify as to unrelated behested payments made by third
22
     parties in California and elsewhere, such testimony is wholly irrelevant to this case, but creates a
23
     significant risk of confusing the issues, and misleading the jury, and should therefore be excluded. See
24
     Fed. R. Evid. 401, 403.
25
             For example, Ms. Ravel states that in her report, she will “focus primarily on tax-exempt
26
     nonprofit organizations that qualify as public-serving or charitable organizations based on statutory
27
     requirements outlined in Section 501(c)(3) of the federal tax code (i.e, “501(c)(3) organizations”)
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 1 because this is the type of nonprofit organization identified in the Superseding Indictment.” Id. ⁋ 20.

 2 The proposed testimony continues that Congress granted these tax benefits to nonprofits “based on the

 3 theory that the government is compensated for the loss of revenue by its relief from financial burdens

 4 which would otherwise have to be met by appropriations from other public funds, and by the benefits

 5 resulting from the promotion of the general welfare.” Id. Ms. Ravel’s laudatory praise of non-profits in

 6 general continues: “In modern times, government decreases in funding starting in the 1980s have led to

 7 more nonprofit charitable organizations arising to fill the gap in providing social services.” She then

 8 states that “state and local governments frequently rely on nonprofit organizations to provide necessary

 9 services to communities such as services addressing healthcare, homelessness . . . among many others.”

10          All of Ms. Ravel’s proposed testimony as to the legitimate work of nonprofits is general,

11 nonspecific, and contains no reference to the facts and evidence in this case. Specifically, the evidence

12 in this case is that the “donations” made to the Lefty O’Doul’s Foundation were not used at all for the

13 stated purpose of the Foundation – to provide access to baseball and baseball equipment for

14 underprivileged testimony – but were rather simply funds secretly funneled through the Foundation, at

15 Nuru’s request, to pay for expensive food, open bars, decorations, and other accoutrements of Nuru’s

16 lavish holiday parties. See Dkt. 67 (Superseding Indictment).

17          None of her general testimony is relevant to this case, any more than testimony about the legality

18 of charitable contributions generally would be relevant, or testimony as to campaign contributions or

19 other payments to public officials. This is not a case about behested payments, and the defendant is not

20 charged with violating behested payment rules and regulations generally. But allowing this expert

21 testimony at trial creates significant risk that the jury would improperly conclude that the specific

22 payments alleged in the Superseding Indictment were legal because other, somewhat similar payments,

23 were legal in some circumstances.

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 1 V.       CONCLUSION

 2          This is not a trial about the legality of behested payments. Vague assertions about unrelated

 3 behested payments made in California and elsewhere are irrelevant to this case. It is improper for an

 4 expert to opine that the alleged bribe payments by the defendant were legal behested payments. It is

 5 improper to call an expert whose purpose is to provide the imprimatur of expert testimony on statements

 6 that do little more than work to bolster the defendant’s credibility. This is particularly true when the

 7 expert has provided insufficient basis for her opinions, opinions that by her own report’s supporting

 8 documentation were not legal or ethical.

 9          Ms. Ravel’s testimony should be excluded.

10

11

12                                                           ISMAIL J. RAMSEY
                                                             United States Attorney
13

14
       Dated: April 4, 2023                                  __/s/ David J. Ward__________
15
                                                             DAVID J. WARD
16                                                           ILHAM A. HOSSEINI
                                                             Assistant United States Attorneys
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